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                            Matthew Charles Mullenweg
                       18
                       19                       IN THE UNITED STATES DISTRICT COURT
                                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       20                              SAN FRANCISCO DIVISION
                       21   WPENGINE, INC., a Delaware corporation,        Case No. 3:24-cv-06917-AMO
                       22                  Plaintiff,
                                                                           DEFENDANTS AUTOMATTIC INC. AND
                       23         vs.                                      MATTHEW CHARLES MULLENWEG’S
                                                                           REQUEST FOR JUDICIAL NOTICE IN
                       24   AUTOMATTIC INC., a Delaware                    SUPPORT OF MOTION TO DISMISS
                            corporation; and MATTHEW CHARLES               AND STRIKE AMENDED COMPLAINT
                       25   MULLENWEG, an individual,
                                                                           Judge: Hon. Araceli Martinez-Olguin
                       26                  Defendants.

                       27                                                  Courtroom: 10

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H OGAN L OVEL LS US
       LLP                                                                             Case No. 3:24-cv-06917-AMO
  ATTO RNEY S AT LAW
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                        1                               REQUEST FOR JUDICIAL NOTICE
                        2          Defendants respectfully request that the Court take judicial notice of the following exhibits
                        3 in support of Defendants’ Combined Motion to Dismiss and Strike Plaintiff WPEngine’s (“WPE”)

                        4 Amended Complaint, true and correct copies of which are attached to or referenced in this Request.

                        5         Selected pages from WPE’s website, available at:
                        6                https://wpengine.com/headless-wordpress/, as it appeared on October 9, 2024, with
                        7                 emphasis added (Exhibit 1);
                        8                https://wpengine.com/woocommerce/, as it appeared on September 26, 2024 and
                        9                 October 9, 2024, with emphasis added (Exhibits 2A and 2B);
                       10
                                         https://wpengine.com/support/platform-settings/#Post_Revisions, as it appeared on
                       11
                                          December 18, 2024 (Exhibit 3);
                       12
                                  A copy of the Trademark Guidelines appearing on the WooCommerce website, available at
                       13
                                   https://woocommerce.com/trademark-guidelines/, as they appeared on December 19, 2024
                       14
                                   (Exhibit 4);
                       15
                                  A copy of pages from WPE’s website for its advanced custom fields plugin, available at
                       16
                                   https://www.advancedcustomfields.com/blog/installing-and-upgrading-to-the-latest-
                       17
                                   version-of-acf/, as they appeared on December 18, 2024 (Exhibit 5);
                       18
                                  Selected pages from wordpress.org (the “Website”), including:
                       19
                                      o https://wordpress.org/news/2024/10/secure-custom-fields/, as it appeared on
                       20
                                          December 18, 2024 (Exhibit 6);
                       21
                                      o https://wordpress.org/news/2024/09/wp-engine/, as it appeared on October 28,
                       22
                                          2024 (Exhibit 7);
                       23
                                      o https://wordpress.org/news/2024/09/wp-engine-banned/, as it appeared on October
                       24
                                          28, 2024 (Exhibit 8);
                       25
                                      o https://wordpress.org/support/topic/wordpress-org-administration/#post-17218580,
                       26
                                          as it appeared on December 18, 2024 (Exhibit 9);
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       LLP                                                           -1-                  Case No. 3:24-cv-06917-AMO
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                        1       A copy of an audio-visual recording of Matt Mullenweg’s (“Matt”) Q&A session from
                        2        WordCamp US 2024, available at https://www.youtube.com/live/fnI-QcVSwMU?t=5s and
                        3        posted on September 21, 2024 (Exhibit 10). Exhibit 10, an audio-visual file, will be
                        4        submitted in a physical copy to the Clerk of the Court and likewise will be served on
                        5        opposing counsel by email.
                        6       Selected pages from the website for WordCamp US 2024 (https://us.wordcamp.org/2024/),
                        7        including:
                        8           o    https://us.wordcamp.org/2024/schedule/, as it appeared on December 19, 2024
                        9               (Exhibit 11);
                       10           o    https://us.wordcamp.org/2024/session/an-in-person-qa-with-matt-mullenweg/, as it
                       11               appeared on October 28, 2024 (Exhibit 12);
                       12       A copy of an audio-visual recording of a portion of a Twitch livestream show, posted to
                       13        ThePrimeTime YouTube channel on September 26, 2024, entitled “Matt Talks About
                       14        WordPress Situation,” available at https://www.youtube.com/watch?v=H6F0PgMcKWM
                       15        (Exhibit 13). Exhibit 13, an audio visual file, will be submitted in a physical copy to the
                       16        Clerk of the Court and likewise will be served on opposing counsel by email.
                       17       A copy of the public LinkedIn profile page for Jan Dembowski, available at
                       18        https://www.linkedin.com/in/jandembowski/, as it appeared on December 18, 2024
                       19        (Exhibit 14); and
                       20       A copy of pages from Matt’s personal blog, available at https://ma.tt/2024/09/ecosystem-
                       21        thinking/, as it appeared on December 18, 2024 (Exhibit 15).
                       22       A copy of the Trademark Policy appearing on the WordPress Foundation website,
                       23        available at https://wordpressfoundation.org/trademark-policy/, as it appeared on
                       24        December 19, 2024 (Exhibit 16).
                       25

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H OGAN L OVEL LS US
       LLP                                                         -2-                  Case No. 3:24-cv-06917-AMO
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                        1                                               AUTHORITY
                        2          A.      Applicable Standard.
                        3          Judicial notice of a fact is proper where the fact is not subject to reasonable dispute because
                        4 it is: (1) generally known within the territorial jurisdiction of the trial court or (2) “can be accurately

                        5 and readily determined from sources whose accuracy cannot reasonably be questioned.” Federal

                        6 Rule of Evidence (“Rule”) 201(b)(2). Courts are required to take judicial notice of facts if requested

                        7 by a party and supplied with the necessary information. Rule 201(c)(2).

                        8          B.      The Court May Properly Take Judicial Notice of Websites, News Articles,
                        9                  Blog Posts, and Other Material in the Public Realm.
                       10          Exhibits 1-16 consist of publicly-available websites, blog posts, online customer support
                       11 forum posts, transcripts of two podcast episodes, an audio-visual recording of a Q&A session given

                       12 at WordCamp US 2024, an audio-visual recording of an interview on YouTube, and a public

                       13 LinkedIn profile page. The Court may take judicial notice of such material as an indication of

                       14 information available in the public realm. See Unsworth v. Musk, No. 19-MC-80224-JSC, 2019 WL

                       15 5550060, at *4 (N.D. Cal. Oct. 28, 2019) (citing Von Saher v. Norton Simon Museum of Art at

                       16 Pasadena, 592 F.3d 954, 960 (9th Cir. 2010)); In re Google Assistant Priv. Litig., 457 F. Supp. 3d

                       17 797, 813 (N.D. Cal. 2020) (taking judicial notice of Google “blog post for the fact that Google made

                       18 the statements it contains”).
                       19          Similarly, district courts routinely find judicial notice of publicly available websites to be
                       20 proper. Loomis v. Slendertone Distrib., Inc., 420 F. Supp. 3d 1046, 1062-63 (S.D. Cal. 2019) (taking

                       21 sua sponte judicial notice of the printouts from Defendant’s website and its Amazon.com listing);

                       22 see also Perkins v. LinkedIn Corp., 53 F. Supp. 3d 1190, 1204 (N.D. Cal. 2014) (noting that publicly

                       23 available websites are proper subjects of judicial notice); Wible v. Aetna Life Ins. Co., 375 F. Supp.

                       24 2d 956, 965 (C.D. Cal. 2005) (granting judicial notice of two Amazon.com webpages); Castagnola

                       25 v. Hewlett-Packard Co., C 11-05772 JSW, 2012 WL 2159385 (N.D. Cal. June 13, 2012) (taking

                       26 judicial notice of screenshots of Defendant’s webpages where plaintiffs did not dispute the accuracy

                       27 or the authenticity).

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       LLP                                                           -3-                  Case No. 3:24-cv-06917-AMO
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                        1          In addition, WP Engine’s Amended Complaint relies on and references: Exhibits 7 and 8,
                        2 blog posts appearing on the Website (FAC ¶¶ 107, 109, 329-30); Exhibit 10, an audio-visual

                        3 recording of Matt’s WordCamp US 2024 Q&A session (FAC ¶¶ 101, 365, 368); Exhibit 13, a

                        4 portion of a livestream interview with Matt that was posted to YouTube (FAC ¶¶ 105, 366); and

                        5 Exhibit 16, the WordPress Foundation trademark policy WPE references and links to (FAC ¶ 47,

                        6 n. 21). Because those materials are incorporated by reference into the Amended Complaint, it is

                        7 proper for the Court to consider these materials for this reason as well. Bernier v. Travelers Prop.

                        8 Cas. Ins. Co., No. 17cv1028-MMA (BLM), 2017 WL 5843396, at *2 (S.D. Cal. Nov. 29, 2017).
                        9                                            CONCLUSION
                       10          For all of the foregoing reasons, Defendants respectfully request that this Court grant their
                       11 request for judicial notice.

                       12

                       13 Dated: December 19, 2024                          Respectfully submitted,

                       14                                             By:   /s/Michael M. Maddigan
                                                                            Michael M. Maddigan
                       15

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                                                                            Hadley Dreibelbis, pro hac vice
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                                                                            Attorneys for Defendants Automattic Inc. and
                       21                                                   Matthew Charles Mullenweg
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H OGAN L OVEL LS US
       LLP                                                           -4-                  Case No. 3:24-cv-06917-AMO
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